
976 So.2d 712 (2008)
STATE ex rel. Anthony BAUMAN
v.
STATE of Louisiana.
No. 2007-KH-0969.
Supreme Court of Louisiana.
February 1, 2008.
In re Bauman, Anthony;  Plaintiff; Applying for Supervisory and/or Remedial Writs, Parish of Orleans, Criminal District Court Div. F, No. 307-964; to the Court of Appeal, Fourth Circuit, No. 2007-K-0333.
Denied. La.C.Cr.P. art. 930.8; State ex rel. Glover v. State, 93-2330 (La.9/5/95), 660 So.2d 1189; La.C.Cr.P. art. 930.3; State ex rel Melinie v. State, 93-1380 (La.1/12/96), 665 So.2d 1172.
